                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 ACER LANDSCAPE SERVICES, LLC,

        Plaintiff,

 v.                                                   Civil Action No. 3:23-cv-00531
                                                      JURY DEMAND
 LASITER & LASITER INC. PC AND
 MARK LASITER, INDIVIDUALLY,


        Defendants.


                           AMENDED COMPLAINT
______________________________________________________________________________

       Plaintiff Acer Landscape Services, LLC (“Acer”), for its complaint against Defendants

Lasiter & Lasiter Inc., P.C. (“Lasiter Inc.”) and Mark Lasiter, states:

                                        INTRODUCTION

       1.      Section 3134 of the Internal Revenue Code (“Section 3134”) allows an “eligible

employer” a credit against the employer’s employment taxes; the credit is referred to as the

Employee Retention Credit (“ERC”). An “eligible employer” includes an employer whose

business is fully or partially suspended because of orders from a governmental authority limiting

commerce, travel, or group meetings due to COVID-19. The ERC was designed to benefit eligible

employers by providing a credit against the employer’s federal employment tax liability for certain

wages paid to the eligible employer’s employees.

       2.      Many entities have engaged in what the Internal Revenue Service (“IRS”) has

declared a scam by inducing (mostly small) businesses into claiming the ERC when such

businesses do not, in fact, qualify for one. That is exactly what occurred here.

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       3.      Lasiter Inc. induced Acer to claim the ERC with little to no diligence to determine

whether Acer actually qualified for the ERC. In return, Lasiter Inc. extracted a significant

“contingent fee.” Indeed, although Acer never qualified for an ERC, Lasiter Inc. induced Acer to

authorize Lasiter Inc. to file amended federal employment tax returns and claim a refund in the

amount of $1,495,423.44.

       4.      Acer later determined through a different certified public accountant that it does

not qualify for the ERC refund. Acer now plans to return any tax refunds related to the ERC that

it received to the IRS. Nonetheless, Lasiter Inc. insists that it is entitled to its contingent fee of

$299,084.68.

                       THE PARTIES, JURISDICTION, AND VENUE

       5.      Acer is a Tennessee limited liability company with a principal place of business in

Franklin, Tennessee. Its sole member is a Tennessee resident, Alfred Stewart. Under Acer’s LLC

Agreement, only the president of Acer has authority to enter into contracts on its behalf. See LLC

Agreement, attached hereto as Exhibit A.

       6.      Lasiter Inc. is an Indiana professional for-profit corporation with a principal office

located at 6010 S. East Street, Indianapolis, Indiana 46227. Its Registered Agent for service of

process is Mark L. Lasiter, 6010 S. East Street, Indianapolis, Indiana 46227. Lasiter Inc. is not

registered to do business in the State of Tennessee.

       7.      Mark L. Lasiter is a certified public accountant doing business at 6010 S. East

Street, Indianapolis, Indiana 46227.

       8.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1) in

that this is a civil action between citizens of the state of Tennessee, on the one hand, and Indiana,

on the other, and the amount in controversy exceeds $75,000, exclusive of interest and costs.


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       9.      Venue before this Court is proper because a substantial part of the events or

omissions giving rise to this action occurred in this district.

                                   FACTUAL BACKGROUND

       10.     Section 3134 allows an ERC to be applied against the federal employment tax

liability of an employer satisfying the requirements of such code section. Lasiter Inc. and/or its

agents solicited Acer to consider applying for a refund of previously paid employment taxes by

Acer amending its previously filed employment tax returns such that the ERC would apply to

Acer’s federal employment tax liability.

       11.     As a result of this solicitation by Lasiter Inc. and/or its agents, Acer agreed to

provide its business information to facilitate Lasiter Inc.’s evaluation of whether Acer qualified

for the ERC and a corresponding refund of federal employment taxes that it previously paid.

       12.     Lasiter Inc. submitted an engagement letter to Acer. Engagement Letter, Doc. No.

1-1. Pursuant to the engagement letter, Lasiter Inc. was to be paid a contingent fee as follows: “If

an [ERC] is issued or a tax bill is reduced, the contingent fee you shall pay to Lasiter is TWENTY

PERCENT (20%) of any such refund or reduction.” Id. at PageID # 13.

       13.     The engagement letter was signed by Casey Winge. Id. at PageID # 15. Mr. Winge

had no actual, apparent or implied authority to sign the engagement letter on Acer’s behalf. Mr.

Stewart, the sole member of Acer, did not authorize Mr. Winge to sign the agreement on Acer’s

behalf and, in fact, was not aware that Mr. Winge signed the agreement. As a result, the

engagement letter is unenforceable against Acer.

       14.     Lasiter Inc., through Mark Lasiter, then requested that Acer complete an ERC

Questionnaire. ERC Questionnaire, Doc. No. 1-2. The ERC Questionnaire stated: “the purpose

of this form is to document a full or partial suspension of operations as a result of governmental


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order restricting commerce, travel or group meetings.” Id. at PageID # 20. Acer completed the

ERC Questionnaire truthfully and provided the completed Questionnaire to Mark Lasiter.

       15.     Acer had no further discussion with Lasiter Inc. concerning the ERC Questionnaire

or the basis for Acer’s responses, and Lasiter Inc. did not request any additional information related

to Acer’s qualification for the ERC.

       16.     Lasiter Inc. and Mark Lasiter did not ask whether certain supply chain interruptions

identified by Acer in response to a question on the ERC Questionnaire caused a full or partial

suspension of Acer’s business operations.

       17.     Lasiter Inc. and Mark Lasiter did not ask whether any of Acer’s suppliers partially

or fully suspended their operations due to a governmental order.

       18.     Lasiter Inc. and Mark Lasiter asserted that Acer qualified for the ERC based upon

the supply chain interruption, explaining in an email sent by Mark Lasiter that “You [Acer] qualify

based on supply chain interruptions per the ERC Questionnaire you [Acer] provided.” Email, Doc.

No. 1-3 at PageID # 25.

       19.     Based upon Lasiter Inc.’s and Mark Lasiter’s evaluation, Lasiter Inc. and Mark

Lasiter advised Acer that Acer qualified for a tax refund in the amount of $1,495,423.44. See

Letter, Doc. No. 1-4.

       20.     Lasiter Inc. then prepared amended employment tax returns for Acer claiming the

ERC and filed the amended returns with the IRS on Acer’s behalf.

       21.     Upon further investigation by a certified public accountant located in Tennessee,

Acer learned that it did not qualify for the ERC. As a result, Acer determined that it is not going

to accept the refund to be issued by the IRS.




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        22.     Acer notified Lasiter Inc. of this determination and terminated its engagement with

Lasiter Inc. See Engagement Termination Letter, Doc. No. 1-5.

        23.     Lasiter Inc. responded, asserting it was owed a fee even if Acer refused to accept

the refund from the IRS. See Response, Doc. No. 1-6. More recently, Lasiter Inc., through

counsel, restated its intent to collect its fee.

        24.     Despite the fact that Acer does not qualify for an employment tax refund based on

an ERC, Lasiter Inc. continues to demand a contingency fee totaling $299,084.68 (20% of

$1,495,423.44).

        24.     The IRS has issued several notices warning about the use of the ERC and urging

taxpayers to review the ERC guidelines and advising that “there are promoters misleading people

and businesses into thinking they can claim [the ERC].” The IRS further stated that it is “actively

auditing and conducting criminal investigations related to false [ERC] claims.” See Collective

Warnings and Notices, Doc. No. 1-7.

                                        CAUSES OF ACTION

   COUNT I—VIOLATION OF THE TENNESSEE CONSUMER PROTECTION ACT
                      (“TCPA”) (LASITER INC.)

        25.     Acer repeats and realleges as if fully set forth herein the allegations set forth in all

previous paragraphs.

        26.     The TCPA is designed to protect Tennessee residents and businesses from scams

such as the scam perpetrated on Acer by Lasiter Inc. Indeed, the TCPA prohibits this conduct,

prohibiting a business from representing that a consumer transaction confers or involves rights,

remedies, or obligations that it does not have or involve or which are prohibited by law. Tenn.

Code Ann. § 47-18-104(12).



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       27.     Lasiter Inc. violated the TCPA by inducing Acer to apply for a refund of federal

employment taxes based on the application of the ERC which Acer did not qualify for.

       28.     Accordingly, the Court should enter judgment for damages resulting from this

misconduct, including any penalties imposed by the IRS.

       29.     The Court should further declare that Lasiter Inc. is not entitled to the $299,084.68

contingent fee it is claiming.

               COUNT II—DECLARATORY JUDGMENT (LASITER INC.)

       30.     Acer repeats and realleges as if fully set forth herein the allegations set forth in all

previous paragraphs.

       31.     Pursuant to the Declaratory Judgment Act, 28 U.S.C.A. § 2201, a case or

controversy exists with respect to the dispute between Acer and Lassiter Inc.

       32.     The engagement letter was not signed by a person on behalf of Acer who had actual,

apparent or implied authority to sign the agreement; therefore, the Court should declare that the

engagement letter is unenforceable against Acer. More specifically, Acer’s sole member was

unaware of the terms of the engagement letter and never authorized Mr. Winge to enter into the

engagement letter and Mr. Winge is not and never has been the president of Acer.

       33.     Further, Acer denies that Lasiter Inc. is entitled to its claimed $299,084.68

contingent fee because Acer, through qualified certified public accountants, has determined that it

does not qualify for the refund of federal employment taxes previously paid by Acer through

Lasiter Inc.’s filing of amended employment tax returns on behalf of Acer.

       34.     Accordingly, the Court should enter an order declaring that Lasiter Inc. is not

entitled to the $299,084.68 contingent fee it is claiming Acer owes it, and further that Acer’s

termination of the engagement letter was proper.


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                 COUNT III—BREACH OF CONTRACT (LASITER INC.)

       35.      Acer repeats and realleges as if fully set forth herein the allegations set forth in all

previous paragraphs.

       36.      Count III is alleged in the alternative should the engagement letter be deemed a

valid and enforceable contract.

       37.      Pursuant to the engagement letter, Lasiter Inc. warranted that is Services “shall be

performed with reasonable care in a diligent and competent manner.” See Engagement Letter,

Doc. No. 1-1.

       38.      Lasiter Inc. breached this warranty by failing to conduct reasonable and necessary

due diligence to determine whether Acer was entitled to a refund of employment taxes based on

Acer’s qualification for the ERC. Indeed, Lasiter Inc. stated that “You qualify based on supply

chain interruptions per the ERC Questionnaire you provided,” (see Email, Doc. No. 1-3) but failed

to inquire of any Acer employee whether Acer fully or partially suspended its business operations

due to orders from a governmental authority limiting commerce, travel, or group meetings due

COVID-19, including a full or partial suspension of business operations due to any supply chain

interruptions that would allow Acer to qualify for a refund of employment taxes due to the

application of the ERC to Acer’s federal employment tax liability.

       39.      Indeed, Acer did not fully or partially suspend its business operations due to supply

chain disruptions so as to qualify for a refund based on the application of the ERC, an inquiry

Lasiter Inc. never made.

       40.      As a result, Lasiter Inc. breached the engagement letter agreement.

       41.      Acer has suffered and will likely suffer damages as a result of Lasiter Inc.’s breach.




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       42.     This Court should award Acer damages in an amount to be proven at trial as a result

of Lasiter Inc.’s breach.

COUNT IV—PROFESSIONAL NEGLIGENCE (LASITER INC. AND MARK LASITER)

       43.     Acer repeats and realleges as if fully set forth herein the allegations set forth in all

previous paragraphs.

       44.     Lasiter Inc. and Mark Lasiter owed duties to exercise reasonable care in providing

accounting advice and guidance to Acer, including conducting the necessary diligence before

recommending that Acer allow it to apply for a refund of federal employment taxes based on the

application of the ERC to Acer’s federal employment tax liability.

       45.     Lasiter Inc. and Mark Lasiter breached their duties owed to Acer.

       46.     Acer has suffered and will suffer damages in an amount to be proven at trial as a

result of Defendants’ breaches.

       47.     Consequently, the Court should enter judgment against the Defendants in an

amount to be proven at trial as a result of their breaches.

                                     PRAYER FOR RELIEF

   WHEREFORE, Acer respectfully requests that the Court:

       A.      Enter judgment declaring that the engagement letter is not enforceable since it was

not signed by a person with proper authority to sign it;

       B.      Enter judgment for Acer declaring that it does not owe Lasiter Inc. the contingent

fee it is demanding;

       C.      Enter judgment against Defendants in amount to be proven at trial;

       D.      Award Acer judgment as a result of Lasiter Inc.’s violation of the TCPA, including

treble damages;


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    E.    Award Acer its attorneys’ fees and costs;

    F.    Grant Acer a jury trial on all issues so triable; and

    G.    Grant Acer any and all other relief to which it appears entitled.




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                                   Respectfully submitted,

                                   BRADLEY ARANT BOULT CUMMINGS LLP



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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was served via email and/or
the Court’s ECF System on August 18, 2023, upon the following:

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                                                   /s/ Russell B. Morgan
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